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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                  District of Connecticut

 Case number (if known):                22-50542                    Chapter    11                                                       ✔ Check if this is an
                                                                                                                                        ❑
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Genever Holdings Corporation



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                            –
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                  PO Box 3170                                                   200 Park Avenue Floor 29
                                                  Number           Street                                       Number        Street

                                                                                                                c/o Luc A. Despins, as Chapter 11 Trustee for the
                                                                                                                Chapter 11 Estate of Ho Wan Kwok
                                                  Road Town Tortola British Virgin Islands,                     P.O. Box
                                                  City                                 State     ZIP Code
                                                                                                                 New York, NY 10166
                                                                                                                City                              State      ZIP Code


                                                  County
                                                                                                                Location of principal assets, if different from principal
                                                                                                                place of business

                                                                                                                 New York, New York
                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




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Debtor      Genever Holdings Corporation                                                                          Case number (if known)               22-50542
           Name
                                                 A. Check one:
    7. Describe debtor's business
                                                 ❑Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                 ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                 ✔ None of the above
                                                 ❑
                                                 B. Check all that apply:
                                                 ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                 ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                 ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                 C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                    http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    5      3   1   3

    8. Under which chapter of the                Check one:
      Bankruptcy Code is the
      debtor filing?
                                                 ❑    Chapter 7
                                                 ❑    Chapter 9
     A debtor who is a “small business
     debtor” must check the first subbox. A      ✔
                                                 ❑   Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V              ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                    $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                           operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                             debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                             proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                             balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                             any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑     A plan is being filed with this petition.

                                                       ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                             accordance with 11 U.S.C. § 1126(b).
                                                       ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                             Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                             (Official Form 201A) with this form.
                                                       ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                 ❑    Chapter 12

    9. Were prior bankruptcy cases filed         ✔ No
                                                 ❑
       by or against the debtor within the       ❑Yes.    District                                       When                    Case number
       last 8 years?
                                                                                                                MM / DD / YYYY
     If more than 2 cases, attach a                        District                                      When                     Case number
     separate list.                                                                                             MM / DD / YYYY


  10. Are any bankruptcy cases pending           ❑No
                                                 ✔ Yes.
      or being filed by a business partner
                                                 ❑        Debtor Ho Wan Kwok                                                     Relationship Equityholder
      or an affiliate of the debtor?
                                                           District District of Connecticut                                      When           2/15/2022
     List all cases. If more than 1, attach a
                                                                                                                                                MM / DD / YYYY
     separate list.
                                                           Case number, if known 22-50073




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    Debtor        Genever Holdings Corporation                                                                       Case number (if known)                22-50542
                 Name


       11. Why is the case filed in this      Check all that apply:
           district?
                                              ❑ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                  immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                  district.
                                              ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                              ❑
      12. Does the debtor own or have         ✔ No
                                              ❑
          possession of any real              ❑ Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
          property or personal property
          that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
          attention?                                     ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                               What is the hazard?


                                                         ❑     It needs to be physically secured or protected from the weather.
                                                         ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                               (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                               options).
                                                         ❑     Other
                                                         Where is the property?
                                                                                   Number         Street




                                                                                   City                                           State       ZIP Code
                                                         Is the property insured?
                                                         ❑ No
                                                         ❑ Yes.    Insurance agency         Contact name
                                                                       Phone



              Statistical and administrative information

             13. Debtor’s estimation of       Check one:
                 available funds?             ✔ Funds will be available for distribution to unsecured creditors. 1
                                              ❑
                                              ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                  creditors.

             14. Estimated number of
                                                 ❑ 1-49 ❑ 50-99                    ❑      1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
                 creditors                       ✔ 100-199 ❑ 200-999
                                                 ❑                                 ❑      10,001-25,000                       ❑    More than 100,000


             15. Estimated assets
                                                ❑    $0-$50,000                       ❑     $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                                ❑    $50,001-$100,000                 ✔
                                                                                      ❑     $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                                ❑    $100,001-$500,000                ❑     $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                                ❑    $500,001-$1 million              ❑     $100,000,001-$500 million             ❑       More than $50 billion




1   At this time, no assurance can be given that funds will be available for distribution to unsecured creditors.


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Debtor        Genever Holdings Corporation                                                                          Case number (if known)             22-50542
             Name



                                            ❑    $0-$50,000                            ❑   $1,000,001-$10 million                 ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                ❑ $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million               ❑ $10,000,000,001-$50 billion
                                            ❑    $500,001-$1 million                   ✔
                                                                                       ❑   $100,000,001-$500 million              ❑ More than $50 billion


           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on 10/17/2022
                                                                 MM/ DD/ YYYY



                                                ✘ /s/ Claire Abrehart                                                  Printed name
                                                                                                                                          Claire Abrehart
                                                    Signature of authorized representative of debtor


                                                    Title                         Director



         18. Signature of attorney
                                                ✘                      /s/ Douglas S. Skalka                           Date 10/17/2022
                                                                                                                                 MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     Douglas S. Skalka
                                                    Printed name

                                                     Neubert, Pepe & Monteith, P.C.
                                                    Firm name

                                                     195 Church Street
                                                    Number          Street


                                                     New Haven                                                            CT              06510
                                                    City                                                                 State            ZIP Code



                                                     (203) 821-2000                                                        dskalka@npmlaw.com
                                                    Contact phone                                                         Email address



                                                     ct00616                                                               CT
                                                    Bar number                                                            State




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